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                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re:                                                :
                                                      :   CHAPTER 11
         58 YORK PARTNERS, LLC,                       :
                                                      :
                              Debtor.                 :   Case No. 21-12907 (AMC)

ORDER PURSUANT TO 11 U.S.C. §1127(a) AND FEDERAL RULE OF BANKRUPTCY
  PROCEDURE 3019, CONSIDER ALL PREVIOUSLY SUBMITTED BALLOTS AS
     ACCEPTING THE MODIFIED PLAN, AND TO PERMIT LATE BALLOTS
   PURSUANT TO FEDERAL RULE OF BANKRUPTCY PROCEDURE 9006(b)(1)


         AND NOW, this _____ day of _______________, 2022 upon consideration of the

motion (the “Motion”) of 58 York Partners, LLC, (the “Debtor”) for Order modifying the

Debtor’s First Plan of Reorganization pursuant to 11 U.S.C. §1127(a) and Federal Rule of

Bankruptcy Procedure 3019, considering all previously submitted accepting ballots as accepting

the First Modified Plan (the “First Modified Plan”), and permitting late ballots pursuant to

Federal Rule of Bankruptcy Procedure 9006(b)(1) and the Motion having been filed on July 15,

2022, and

         It is ORDERED, and Notice is hereby given, that:

         1.     The Motion is GRANTED. .

         2.     The First Plan of Reorganization is hereby modified and the First Modified Plan

of Reorganization shall be the effective plan going forward;

         3.     A confirmation hearing on the First Modified Plan shall take place on September

__, 2022 at __:___ a.m. / p.m.

         4.     All previously accepted ballots shall be an accepting ballot on the First Modified

Plan;
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       5.      Any interested party that did not submit a ballot is permitted to submit a ballot

until _______, 2022;

       6.      Any interested party that seeks to change their previously submitted ballot is

permitted to re-submit a ballot until __________, 2022; and

       7.      The Debtor shall prepare and file a new Report of Plan Voting on _____, 2022

prior to the confirmation hearing.

                                     BY THE COURT:



                                     ____________________________________
                                     JUDGE ASHELY M. CHAN
                                     UNITED STATES BANKRUPTCY JUDGE
